Case 3:17-cV-01654-C Document 5 Filed 06/23/17 Page 1 of 1 Page|D 13

JS 44 (Rev. 06/17) - TXND (Rev. 06/17)

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filin
provided by local rules of court This fonn, approved by the Judicial Conference of the United S!ates in

CIVIL COVER SHEET

g and service of pleadings or other papers as required by law, except as
September 1974, is required for the use of the Clerk of Coun for the

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

ieiklfefPizé*vli"TlFFS

(b) County of Residence of First Listed Plaintiff Dalla$
(EXCEPT[NU.S. PLAINT[FFCASES)

R.§?)GH‘}§?E§&S aaeé“z,"m§€'an%:d£ef’”“"e”'""b")

301 S. Center St., Ste. 404
Arlington, Texas 76010

BPu%E£IXBANTS

NOTE:

Attomeys (lfKnown)

 

County of Residence of First Listed Defendant

(IN US. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

217 541 ’)€€'7

II. BASIS OF JURISDICTION (Place an "X" in OneBox Only)

E| 1 U.S. Govemment
Plaintiff

|J 2 U.S. Govemment
Defendant

g 3 Federal Question
(U.S. GovernmentNotaParty)

|J 4 Diversity
(lndicate Cirizenship of Parlies in llem III)

 

(For Diversily Cases OnM

III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Boxf)r PIain/W‘

and One Boxfor De_hzndam)

P'I'F DEF PTF DEF
CiLizen ofThis State Cl 1 D 1 Incorporated or Prineipal Place El 4 D 4
ofBusiness In This State
Citizen of Anolher State D 2 lj 2 Incorporated and Principal Place D 5 D 5
of Business In Another State
Citizen or Subject of a C| 3 CI 3 Foreign Nation Cl 6 Cl 6

 

Foreigl_l Counlry

 

 

 

 

Click here for: Nature ot`Suit Code Descri tions.
OTHER STATUTES' § `

 

 

 

 

 

 

 

 

 

 

 

 

IV. NATURE OF SUIT (Place an "X" in One Box Only)
l ' . ' C()NTRACT '~ ~' ~' » §- ;_ ‘TOR_TS: » 1 t ` » ` 1." . * §§§FORBLllURE/PENALTY' . BANKRUPTCY=-/
Cl 1101nsurance PERSONAL INJURY PERSONAL INJUR 13 625 Drug Related Seizure |J 422 Appeal 28 USC 158
Cl 120 Marine D 310 Airplane ij 365 Personal Injury - of Property 21 USC 881 C| 423 Wilhdrawal
ij 130 Miller Aet lj 315 Airplane Product Product Liability lJ 690 Other 28 USC 157
|J 140 Negotiable Instrumeot Liability Cl 367 Heallh CareJ
\J 150 Recovery of Overpayment E| 320 Assault, Libel & Pharmaceutical PR§PERTY RI§HTS
& [---"- of ' 1_, Slander Personal Injury |J 820 Copyrights
Cl 151 Medicare Act D 330 Federal Employers’ Product Liability |J 830 Patent
D 152 Recovery of Defaulted Liability Cl 368 Asbestos Personal El 835 Patent - Abbreviated
Student Loans Cl 340 Marine lnjury Product New Drug Application
(Excludes Veterans) D 345 Marine Product Liability D 840 Trademark
cl 153 Recovery of Ove¢paymem Liability PERsoNAL PROPERTY LAM § l L E T\' ~ ' '
of Veteran’s Benet'lts lj 350 Motor Vehicle \J 370 Olher Fraud Cl 710 Fair Labor Standards El 861 HIA (1395ff)
|J 160 Stockholders’ Suits lj 355 Motor Vehiele |J 371 Truth in Lending Act Cl 862 Black Lung (923)
El 190 Other Contract Product Liability C| 380 Other Personal ij 720 Labor/Management D 863 DIWC/DIWW (405(g))
lj 195 Contract Product Liability |J 360 Other Personal Property Damage Relations Cl 864 SSID Title XVI
D 196 Franchise ln_quy El 385 Property Damage El 740 Railway Labor Act Cl 865 RSI (405(g))
Cl 362 Personal lnjury - Product Liability Cl 751 Family and Medical
Medical Malpraclice Leave Act
I " ' 4 »REAL PROPERT¥ ' ' CIVIL RIGHTS ' * § PRISONER PETITIONS Cl 790 Other Labor Litigation § "'FEDERAL TAX SUITS ~
Lj 210 Land Condemnation D 440 Other Civil Rights Habeas Corpus: Cl 791 Employee Retirement D 870 Taxes (U.S. Plainti£t`
Cl 220 Foreclosure D 441 Voting Cl 463 Alien Detainee Income Security Act or Dei`endant)
Cl 230 Rent Lease & Ejectment 7442 Employment Cl 510 Motions to Vacate El 871 IRS-Third Party
D 240 Torts to Land D 443 Housing/ Sentence 26 USC 7609
Cl 245 Toxt Product Liability Accommodations l‘_'J 530 General
Cl 290 All Other Real Propeny |J 445 Amer. w/Disabilities - El 535 Dealh Penalty ~ § lMMIGRATION

 

Employment Other:

D 446 Amer. w/Disabilities - Cl 540 Mandamus & Olher
Olher IJ 550 Civil Rights

|J 448 Education Cl 555 Prison Condition

El 560 Civil Detainee -
Conditions of

|J 462 Naturalization Applieation
13 465 Other Immigration
Actions

 

 

Confinement

 

 

D 375 Fa]se Claims Ac

El 376 Qui Tam(31USC
3729(3))

C| 400 State Reapportionment

D 410 Antitrust

U 430 Banks and Banking

|J 450 Commerce

El 460 Depodation

D 470 Racketeer In!]uenced and
Corrupt Organiz.ations

El 480 Consumer Credit

IJ 490 Cable/Sat TV

C| 850 Securities/Commodities/
Exchange

El 890 Other Starutory Actions

Cl 891 Agricultural Acts

D 893 Environmental Matters

Cl 895 Freedom of Infonnation
Act

111 896 Arbiu'ation l

Cl 899 Administrative Procedure
Act/Review or Appeal of
Ageney Decision

|J 950 Constirutionality of
State Statutes

  

 

 

V. ORIGIN (Place an 'X in

One Box Only)

Cl 8 Mu_ltid_istrict

01 Original IJ 2 Removed from Cl 3 Remanded from El 4 Reinstated or El 5 Transfen-ed from Cl 6 Multidistrict
Proceeding State Court Appel|ate Court Reopened Ano¢her Djsm'c; Litigation - Litlgauon -
(specifv) Transf`er Direct File

 

VI. CAUSE OF ACTIO

42 U.S.C. '2000€

N Brief description of cause: _
Sex harassment, retaliation

 

Cite the U.S. Civil Sfatuf€ under Which you are filing (Do nat cite jurisdictional statutes unlss diversi!_y).'

 

CHECK YES only if demanded in complaint

 

 

 

 

 

VII. REQUESTED IN L-_l CHECK IF THIS IS A CLASS ACTION DEMAND $
COMPLAINT: UNDER RULE 23, F-R-CV~P~ JURY DEMANm @ Yes @No
VIII. RELATED CASE(S) _ _ _
IF ANY (See lmlnlcnons). JUDGE //) '.' l DOCKET ER
DATE sIGNAT EY 01= RECORD
06/23/201 7
FOR 0FF1CE USE ONLY 7
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. IUDGE

 

 

